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7
8                          IN THE UNITED STATES DISTRICT COURT
9                             EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       ) No. 2:11-CR-00295 MCE
                                     )
12                   Plaintiff,      ) STIPULATION AND
                                     ) ORDER FOR A PRE-PLEA PRESENTENCE
13        v.                         ) REPORT FOR ANTHONY RIVERA
                                     )
14   ANTHONY RIVERA,                 )
                                     )
15                   Defendant.      )
                                     )
16   _______________________________ )
17
18                                  REASONS FOR REQUEST
19               The parties have been actively in the process of negotiating
20   a settlement in this matter.        It has become apparent that a pre-plea
21   pre-sentence report would facilitate the negotiations, particularly in
22   the area of criminal history.        The Probation Department has indicated
23   to counsel that they would like at least six weeks to complete the
24   task.
25   ///
26   ///
27   ///
28   ///
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1                                     STIPULATION
2         The parties hereby stipulate, through their respective counsel,
3    that, in order to facilitate pre-trial negotiations, the Court may
4    order that the United States Probation Office prepare a pre-plea
5    presentence report for Mr. Rivera in the above-entitled case.
6         Dated: May 7, 2012
7
8                               /s/ Robert M. Holley
                                ROBERT M. HOLLEY
9                               Counsel for Ms. Williams
10
11                              BENJAMIN B. WAGNER
                                United States Attorney
12
13                              /s/ Daniel S. McConkie,(by RMH)
                                Mr. Daniel S. McConkie
14                              Assistant United States Attorney
                                Counsel for the United States
15
16
                                         ORDER
17
18        GOOD CAUSE APPEARING, and upon stipulation of the parties, it is
19   hereby ordered that the United States Probation Office prepare a pre-
20   plea presentence report in the above-entitled case for defendant
21   Anthony Rivera within six weeks of the date of this order.
22             It is so ordered.
23
24   Dated: May 9, 2012

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                                         _____________________________
26                                       MORRISON C. ENGLAND, JR.
27                                       UNITED STATES DISTRICT JUDGE

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